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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-1133V
                                    Filed: January 12, 2018
                                        UNPUBLISHED


    JUDY BARTON and JONES BARTON,
    as parents and natural guardians of
    E.B., a minor,
                                                             Special Processing Unit (SPU);
                        Petitioners,                         Ruling on Entitlement; Concession;
    v.                                                       Table Injury; Rotavirus Vaccine;
                                                             Intussusception
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Clifford John Shoemaker, Shoemaker, Gentry & Knickelbein, Vienna, VA, for petitioner.
Justine Elizabeth Walters, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:
        On August 22, 2017, petitioners filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioners allege that E.B. suffered “injuries, including intussusception,
resulting from the adverse effects of a rotavirus vaccination received on June 2, 2017.”
Petition at 1. Petitioners maintain that the onset or manifestation of E.B.’s
intussusception occurred within the time period set forth listed on the Vaccine Injury
Table and no cause for her intussusception was identified. Id. at ¶ 10; see 42 C.F.R. §
100.3(a)(XI) (2017). Petitioners further allege that E.B. received her vaccination in the
United States, that her intussusception resulted in inpatient hospitalization and surgical

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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intervention, and that neither petitioners nor any other party has filed a civil action or
received compensation for E.B.’s injuries. Petition at ¶¶ 1, 3, 11-13. The case was
assigned to the Special Processing Unit of the Office of Special Masters.
       On January 12, 2018, respondent filed his Rule 4(c) report in which he concedes
that petitioners are entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. Specifically, respondent “has reviewed the facts of this case and
concluded that petitioners’ claim meets the Table criteria for intussusception occurring
within one to twenty-one days after a rotavirus vaccination.” Id. at 3. Respondent
further agrees that all statutory and jurisdiction issues required before compensation
can be awarded have been satisfied. Id.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                    s/Nora Beth Dorsey
                                    Nora Beth Dorsey
                                    Chief Special Master
